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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

Case No. Ce`.\l~éf/V,YD(BQO\A “ 0 ,`,

CLAIRESE CLAUDET,

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Plalntlff, . ¢:>o
vs.
BANK OF AMERICA, N.A.,

Defendant.

COMPLAINT

Plaintii}`, Clairese Claudet (formerly known as Clairese Dahan), (hereinafter “PlaintiH”)

sues Defendant, Bank of America, N.A. (hereinafter “BofA”) and for her complaint alleges:
l. This is a complaint for monetary damages.
2. The Defendant violated the Telephone Consumer Protection Act (TCPA) 47 USC § 227, et.
seq. and its implementing regulations at 47 C.F.R. § 64.1200, et. seq., the federal Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq., (hereinafter FDCPA), and the Florida
Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (hereinafter “FCCPA”).
I
PARTIES
3. The Plaintiff is a natural person and citizen of Osceola County, whose principal residence is

located at 3824 Golden Feather Way, Kissimmee, Florida 34746.

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4. The Defendant Bank of America, N.A., is also known as “Bank of America Home Loans” and
“BAC Home Loans Servicing, LP”. Defendant, Bank of America N.A. is not a
registered debt collector with the State of Florida Office of Financial Regulation nor is it
registered as as a foreign corporation with the Florida Department of State Division of
Corporations. Bank of America N.A. (hereaRer “BofA”) is a National Bank registered with
the F ederal Deposit Insurance Corporation (FDIC) with an address of 100 North Tryon Street,

Charlotte, North Carolina 28202.

II
JURISDICTION AND VENUE

5. This Court has jurisdiction to grant relief pursuant to 15 U.S.C. § 1692k(d), 28 U.S.C. §133 1,
47 U.S.C. §227(b)(3) and 28 U.S.C. § 1367.

6. The Defendant transacts business in the State of Florida. The conduct complained of which
gives rise to the causes of action occurred in the County of Osceola. Venue is proper in the
Middle District of Florida pursuant to 28 U.S.C. l39l(b)(2), (c) and (d), as the claims arose
from acts of Defendants perpetrated therein.

III
COMPOSITE EXHIBITS

7. Attached to this Complaint are Composite Exhibits. The Composite Exhibits are incorporated
and made a part hereof as Composite Exhibit “A” and are given Bates numbers on the bottom

of each page. Any reference made to composite Composite Exhibit “A” shall be as follows:

“Composite Exhibit “A” Page ”

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IV
FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

8. All conditions precedent to the bringing of this action have been performed, waived or
excused.

9. Plaintiff’s cellular telephone number is 484-919-3516.

l0.0n Apri120, 2007, Plaintiff obtained a mortgage loan from Countrywide Home Loans, Inc.
for the purpose of purchasing her homestead residence. (The “Subject Debt”) (Composite
Exhibit A, pages 8 - 27)

ll.On March 1, 2009, PlaintiH` defaulted on the Subject Debt. (Composite Exhibit A, page 2,
paragraph 6)

12. On July 27, 2009, the defaulted debt was assigned for collection to BAC Home Loans
Servicing, LP, FKA Countrywide Home Loans Servicing, LP. (Composite Exhibit A, page 7)

13.0n August 7, 2009, BAC Home Loans Servicing, LP FKA Countrywide Home Loans
Servicing, LP, filed suit against Clairese Claudet in foreclosure (Composite Exhibit A, pages
1 - 27) Although the foreclosure complaint stated that it was an in rem proceeding, it was not
limited to an in rem proceeding, as it also sought damages The “Wherefore” clause sought
an amount for principal, interest, late charges, abstracting, taxes, expenses, costs, attomeys’
fees, interest on the attomeys’ fees, and a deficiency decree. (Composite Exhibit A, page 3.)

14.0n January 28, 2010, Clairese Claudet’s attorney filed a Notice of Appearance in the
foreclosure action and served it on counsel for BofA. (Composite Exhibit A, page 28)

15.0n December 21, 2012, Plaintil’t` registered her cellular telephone with the federal do-not-call

registry. (Composite Exhibit A, page 29)

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16.0n August 30, 2013, without consent, BofA caused Plaintiffs cellular telephone to be called.
The calling number was 888-287-4637.

17. On September 3, 2013, without consent, BofA caused Plaintiffs cellular telephone to be
called. The calling number was 888-287-4637.

18.0n September 23, 2013, Plaintiff filed a petition in bankruptcy under chapter 7 in the Middle
District of Florida (Case No. 6:13-bk-l l772-KSJ). She was represented by counsel, Walter
Benenati. Mr. Benenati’s business address and telephone number were displayed on all
documents processed through the bankruptcy proceeding On September 24, 2013, Clairese
Claudet’s bankruptcy attorney filed and served on counsel for BofA a Suggestion of
Bankruptcy. (Composite Exhibit A, page 30)

19.0n December 23, 2013, without consent, BofA caused Plaintiifs cellular telephone to be
called. The calling number was 88 8-287-463 7.

20. On December 24, 2013, the Court issued a discharge Order that discharged Plaintiff’s
obligation for the debt. (Composite Exhibit A, page 31)

21 .On March 24, 2014, without consent, BofA caused Plaintitfs cellular telephone to be called.
The calling number was 888-287-4637.

22.0n April 19, 2014, without consent, BofA caused Plaintiffs cellular telephone to be called.
The calling number was 888-287-4637.

23.0n May 5, 2014, without consent, BofA caused Plaintiffs cellular telephone to be called. The
calling number was 888-287-4637.

24.0n May 12, 2014, without consent, BofA caused Plaintiffs cellular telephone to be called. The

calling number was 888-287-4637.

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25.0n September 17, 2014, without consent, BofA caused Plaintiffs cellular telephone to be
called. The calling number was 888-287-4637.

26.0n October 3, 2014, without consent, BofA caused Plaintiifs cellular telephone to be called.
The calling number was 888-287-4637.

27.0n October 22, 2014, without consent, BofA caused Plaintiffs cellular telephone to be called.
The calling number was 888-287-4637.

28.0n November 14, 2014, without consent, BofA caused Plaintiii`s cellular telephone to be
called. The calling number was 888-287-4637.

29.0n November 20, 2014, without consent, BofA caused Plaintiffs cellular telephone to be
called. The calling number was 888-287-4637.

V
ALLEGATIONS COMMON TO FDCPA COUNTS

30.PlaintiH` has been “the object of collection activity arising from consumer debt”.

31. Plaintiff is a “Consumer” pursuant to the FDCPA in that she is a natural person and was al-
legedly obligated to pay an debt arising out of a transaction where the money or services,
which are the subject of the transaction, were primarily for a personal purposes, to wit: med-
ical procedures

32. The debt at issue under the FDCPA was primarily for personal, family, or household purpos-
es. The FDCPA defines “debt” as “any obligation or alleged obligation of a consumer to pay
money arising out of a transaction in which the money, property, insurance, or services which
are the subject of the transaction are primarily for personal, family, or household purposes”

15 U.s.c. § 1692a(5).

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33. The Defendant has engaged in an act or omission prohibited by the or FDCPA.

34. The Defendant is a “debt collector” within the definition established by the FDCPA,

15 U.S.C. § 1692a(6), in that they use the U.S. Mails in a business, the principal purpose of
which is to regularly collect or attempt to collect, directly or indirectly, debts owed or due or
asserted to be owed or due another. Defendant is collecting in excess of 100,000 debts.

35. While the term “creditor” means any person who offers or extends credit creating a debt or to
whom a debt is owed, the term does not include any person to the extent that he receives an
assignment or transfer of a debt in default solely for the purpose of facilitating collection of
such debt for another. 15 U.S.C. § 1692a(4). The Defendant received the defaulted debt for
collection on behalf of DIS.

VI
ALLEGATIONS COMMON TO FCCPA COUNTS

36.Plaintiff` has been “the object of collection activity arising from consumer debt”.

37. Plaintiff is a “Consumer” pursuant to the FCCPA in that she is a natural person and was al-
legedly obligated to pay a debt arising out of a transaction where the money or services which
were the subject of the transaction were primarily for personal purposes, to wit: a medical
procedure

38. The debt at issue under the FCCPA was primarily for personal, family, or household purpos-
es. The FCCPA defines “debt” as “any obligation or alleged obligation of a consumer to pay
money arising out of a transaction in which the money, property, insurance, or services which
are the subject of the transaction are primarily for personal, family, or household purposes,

whether or not such obligation has been reduced to judgment.” Fla. Stat. § 559.55(1).

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39. The Defendants have engaged in an act or omission prohibited by the or FCCPA.

40. The Defendant is a “debt collector” within the definition established by the FCCPA, Fla. Stat.
§ 559.55(6), in that it uses the U.S. Mails within this state in a business, the principal purpose
of which is to to regularly collect or attempt to collect, directly or indirectly, debts owed or
due or asserted to be owed or due another.

41 . The Defendant is a “consumer collection agency” within the definition established by the
FCCPA, Fla. Stat. § 559.55(7) in that it is a business entity engaged in the business of solicit-
ing consumer debts for collection or of collecting constuner debts.

42. The Defendant regularly engages in the collection of consumer debts.

43. The Defendant is a “person” within the meaning of the FCCPA, and in particular as it is used
in Fla. Stat. § 559.72.

VII
CAUSES OF ACTION

FIRST CAUSE OF ACTION
Violation of the TCPA - 47 USC § 227, et. seq.

44.Plaintiff re-alleges and incorporates by reference paragraphs l through 29, above, as if fully
set forth herein.

45.The Defendant knew that Plaintiff was represented by counsel in the foreclosure action and
by counsel in the bankruptcy action and that she had registered her telephone with the federal

do not call registry and that these actions caused all consent to contact her to be revoked.

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46. The Defendants willfully or knowingly violated the automated-call requirements of 47
U.S.C. § 227(b)(1) and 47 C.F.R. § 64.1200(a)(1) by making calls to the Plaintiff’s cellular
telephone or by authorizing an agent to do so:

a. through the use of an automatic telephone dialing system.
b. by using an artificial or prerecorded voice in the beginning of each call.

47.“The term “automatic telephone dialing system” means equipment which has the capacity (A)
to store or produce telephone numbers to be called, using a random or sequential number gen-
erator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1) On information and belief, De-
fendant, or Defendant’s authorized agent, used a predictive dialer to place the calls to Plain-
tiff’s cellular telephone. A a predictive dialer is:

Equipment that dials numbers and, when certain computer software is attached, also
assisted telemarketers in predicting when a sales agent will be available to take calls, The
hardware, when paired with certain software, has the capacity to store or produce
numbers and dial those numbers at random, in sequential order [i]n most cases,
telemarketers program the numbers to be called into the equipment, and the dialer calls
them at rate to ensure that when a consumer answers the phone, a sales person is
available to take the call.

(See Conglio v. Bank of America, 8:14-cv-01628; 2014 WL 6882294 (M.D.Fla., 12/4/2014), also

see, 2008 TCPA Order 23 FCC Rcd. at 566, para. 12, and see 2003 TCPA Order, 18 FCC RCD.

AT14091, PARA. 131).

48.When the Plaintilf answered the Defendants’ telephone calls, an artificial or prerecorded
voice was initially heard, in violation of 47 U.S.C. § 227(b)(1).

49.Defendant called Plaintiff’s cellular telephone at least thirteen times without consent.

WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:

a. Enjoining the violation pursuant to 47 USC §227(b)(3)(A).
b. $500 in statutory damages for each call pursuant to 47 USC §227(b)(3)(B).

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c. Treble statutory damages for each call for Defendant’s willful or knowing
violation of 47 USC §227(b)(3).

SECOND CAUSE OF ACTION
Violations of the FDCPA
(Violation of 15 U.S.C. § 1692e)
50.Plaintiff repeats and realleges the allegations contained in paragraphs 1 - 35 above as if fully
set forth herein.
51.15 U.S.C. § l692e states in relevant part:
A debt collector may not use any false, deceptive, or misleading representation or means

in connection with the collection of any debt. Without limiting the general
application of the foregoing, the following conduct is a violation of this section:

[. . . ]
(2) The false representation of_
(A) the character, amount, or legal status of any debt; or

[.. .]
(10) The use of any false representation or deceptive means to collect or attempt
to collect any debt or to obtain information concerning a consumer.

[...]

52.Plaintiff did not give the Defendant consent to contact her and any prior consent was revoked
when her foreclosure counsel filed her notice of appearance in the foreclosure case. Consent
was also revoked when Plaintiff filed a bankruptcy. Consent was also revoked when Plaintiff
put her telephone number on the federal do not call registry.

53.Defendant made 9 telephone calls to Plaintiff in the past 12 months. Of those calls, all were
post bankruptcy filing and 8 were post discharge Each telephone call in the past 12 months
was a false, deceptive, or misleading attempt to collect a debt by falsely representing the debt

was due when in fact the an automatic stay was in effect on the one telephone call that was

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made pre-discharge and the debt no longer existed due as to the remaining 8 post discharge
telephone calls, in violation of 15 U.S.C. § 1692e.
54.Plaintiff seeks actual damages, statutory damages, declaratory relief, equitable relief, attor-
neys’ fees and costs from the Defendant.
THIRD CAUSE OF ACTION
Violations of the FDCPA
[Violation of 15 U.S.C. § l692f]
55.Plaintiii` repeats and realleges the allegations contained in paragraphs l through 35 above as if
fully set forth herein.
56.15 U.S.C. § 1692f states in part:
A debt collector may not use unfair or unconscionable means to collect or attempt to
collect any debt. Without limiting the general application of the foregoing, the following
conduct is a violation of this section:
(1) The collection of any amount (including any interest, fee, charge, or expense
incidental to the principal obligation) unless such amount is expressly authorized by the
agreement creating the debt or permitted by law.
57.Each telephone call Was an unfair or unconscionable attempt to collect a debt a debt that that
was not permitted by law in violation of 15 U.S.C. § 1692f because Plaintiff did not give the
Defendant consent to contact her and any prior consent was revoked when her foreclosure
counsel filed her notice of appearance in the foreclosure case. Consent was also revoked
when Plaintiff filed a bankruptcy. Consent was also revoked when Plaintiff put her telephone
number on the federal do not call registry.

58.Plaintiff seeks actual damages, statutory damages, declaratory relief, equitable relief, attor-

neys’ fees and costs from the Defendant.

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FOURTH CAUSE OF ACTION
Violations of the FDCPA
[15 U.S.C. 1692C(a)(2)]
59.Plaintiif repeats and realleges the allegations contained in paragraphs 1 - 35 above as if fully
set forth herein.
60.15 U.S.C. § 1692c(a) states:
Without the prior consent of the consumer given directly to the debt collector or the
express permission of a coint of competent jurisdiction, a debt collector may not
communicate with a consumer in connection with the collection of any debt-
(2) if the debt collector knows the consumer is represented by an attorney with
respect to such debt and has knowledge of`, or can readily ascertain, such
attomey’s name and address, unless the attorney fails to respond within a

reasonable period of time to a communication from the debt collector or unless
the attorney consents to direct communication with the consumer;

61 .Each telephone call was without the prior consent of the Plaintiff. Plaintiff did not give the
Defendant consent to contact her and any prior consent was revoked when her foreclosure
counsel filed her notice of appearance in the foreclosure case. Consent was also revoked
when Plaintiff filed a bankruptcy Consent was also revoked when Plaintiff put her telephone
number on the federal do not call registry.

62.The Defendant knew the Plaintiff was represented by two counsel - one in the foreclosure ac-

tion and one in the bankruptcy action.

63."['he Defendant knew or could readily ascertain the Plaintiff’s two counsels names and ad-

dresses.

64.Each of the nine calls in the past year were a violation of 15 U.S.C. § 1692c(a).

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65.Plainti1f seeks actual damages, statutory damages, declaratory relief, equitable relief, attor-

neys’ fees and costs from the Defendant.

FIFTH CAUSE OF ACTION
Violations of the FCCPA
[Violation of § 559.72(9)]
66.Plaintiff repeats and realleges the allegations contained in paragraphs 1 - 29 and 36 - 43,
above as if fully set forth herein.
67.Florida Statutes § 559.72(9) provides:
In collecting consumer debts, no person shall:
Claim, attempt, or threaten to enforce a debt when such person knows that the
debt is not legitimate, or assert the existence of some other legal right when such
person knows that the right does not exist.”
68.Each of the eleven telephone calls by the Defendant after the Plaintiff filed her bankruptcy
was an illegal attempt to collect a debt when the Defendant knew that the debt was not legiti-
mate as the Plaintiff had filed a petition in bankruptcy
69.Each of the 8 telephone calls by the Defendant after the bankruptcy court discharged the debt
was an illegal attempt to collect a debt when the Defendant knew that the debt was extin-
guished in violation of Florida Statutes section 559.72(9).
70.Plaintiff did not give the Defendant consent to contact her and any prior consent was revoked
when her foreclosure counsel filed her notice of appearance in the foreclosure case. Consent

was also revoked when Plaintiff filed a bankruptcy. Consent was also revoked when Plaintiff

put her telephone number on the federal do not call registry.

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71 .Plaintiff seeks actual damages, statutory damages, declaratory relief, equitable relief, attor-

neys’ fees and costs from the Defendant.

SIXTH CAUSE OF ACTION
Violations of the FCCPA
[Violation of § 559.72(18)]

72.Plaintiff repeats and realleges the allegations contained in paragraphs l - 29 and 36 - 43,
above as if firlly set forth herein.
73.Florida Statutes § 559.72(18) provides:
In collecting consumer debts, no person shall:
(18) Communicate with a debtor if the person knows that the debtor is represented by
an attorney with respect to such debt and has knowledge of, or can readily ascertain, such
attomey’s name and address, unless the debtor’s attorney fails to respond within 30 days
to a communication from the person, unless the debtor’s attorney consents to a direct
communication with the debtor, or unless the debtor initiates the communication
74.Each of the 13 telephone calls from the Defendant to the Plaintiff were placed when the De-
fendant knew that the Plaintiff had counsel, and when the Defendant knew, or could readily
ascertain such counsels name and address.
75.Defendant’s persistent, illegal debt collection constituted malicious acts of bad faith and were
willful violations of the law because its telephone calls occurred after the Plaintiff filed bank-
ruptcy and after she received a discharge in bankruptcy. Florida Statutes § 559.77(2) provides
in part:
the court shall consider the nature of the defendant’s noncompliance with s. 559.72, the
frequency and persistence of the noncompliance, and the extent to which the
noncompliance was intentional. . .The court may award punitive damages and may

provide such equitable relief as it deems necessary or proper, including enjoining the
defendant from further violations of this part. '

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76.P1aintiff did not give the Defendant consent to contact her and any prior consent was revoked
when her foreclosure counsel filed her notice of appearance in the foreclosure case. Consent
was also revoked when Plaintiff` filed a bankruptcy. Consent was also revoked when Plaintiff

put her telephone number on the federal do not call registry.

77. The Defendant’s persistent, illegal debt collection constituted malicious acts of bad faith and were

willful violations of the law.

7 8. Plaintiff seeks general damages, special damages, statutory damages, punitive damages, court
filing costs and service of process costs, reasonable attomey’s fees, declaratory relief and eq-

uitable relief to enjoin Defendant to cease contact with her.

SEVENTH CAUSE OF ACTION
Violations of the FCCPA
[Violation of § 559.72(18)]
79.Plaintiff repeats and realleges the allegations contained in paragraphs 1 - 29 and 36 - 43,
above as if hilly set forth herein.
80.Florida Statutes § 559.72(19) provides:
In collecting consumer debts, no person shall:
(19) Cause a debtor to be charged for communications by concealing the true purpose
of the communication, including collect telephone calls and telegram fees.
81 .Each of the 13 telephone calls from the Defendant to the Plaintiff caused Plaintiff to incur a
charge for the call.
82.Defendant concealed the true purpose of the calls, which was to collect a debt.

83.Defendant’s persistent, illegal debt collection constituted malicious acts of bad faith and were

willful violations of the law because its telephone calls occurred after the Plaintiff filed bank-

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ruptcy and after she received a discharge in bankruptcy. Florida Statutes § 559.77(2) provides
in part:

the court shall consider the nature of the defendant’s noncompliance with s. 559.72, the
frequency and persistence of the noncompliance, and the extent to which the
noncompliance was intentional. . .The court may award punitive damages and may

provide such equitable relief as it deems necessary or proper, including enjoining the
defendant from further violations of this part.

84.Plaintiff did not give the Defendant consent to contact her and any prior consent was revoked
when her foreclosure counsel filed her notice of appearance in the foreclosure case. Consent
was also revoked when Plaintiff filed a bankruptcy. Consent was also revoked when Plaintiff`

put her telephone number on the federal do not call registry.

85. The Defendant’s persistent, illegal debt collection constituted malicious acts of bad faith and were

willful violations of the law.
86. Plaintiff` seeks general damages, special damages, statutory damages, punitive damages, court
filing costs and service of process costs, reasonable attomey’s fees, declaratory relief and eq-

uitable relief to enjoin Defendant to cease contact with her.

VIII
DEMAND FOR TRIAL BY JURY

87. Plaintiff demands a trial by jury for the violations of the TCPA, FDCPA and FCCPA.

/s/ James E. Orth Jr.
James E. Orth, Jr. FBN 75941

 

/s/ George M. Gingo
George M. Gingo, 0879533

Gingo & Orth, P.A.

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